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               EXHIBIT 6
                                                                                                                             Filed
                  Case 4:22-cv-00209 Document 1-7 Filed on 01/20/22 in TXSD Page 2 of 8                     11/15/2021 10:37 AM
                                                                                                         Beverley McGrew Walker
                                                                                                                    District Clerk
                                                                                                         Fort Bend County, Texas
                                                                                                            Salena Jasso

                                              CAUSE NO. 21-DCV-287142

             JACKIE NGUYEN,                               §               IN THE DISTRICT COURT OF
                                                          §
                    Plaintiff,                            §
                                                          §
             v.                                           §              FORT BEND COUNTY, TEXAS
                                                          §
             INSPECTIONS NOW, INC.,                       §
                                                          §
                    Defendant.                            §               434 TH JUDICIAL DISTRICT


                              PLAINTIFF’S FIRST AMENDED PETITION
             __________________________________________________________________________


                    Plaintiff, Jackie Nguyen (“Ms. Nguyen”), files this Original Petition against

             Defendants Inspections Now, Inc. (“Inspections Now”) and Floor and Decor Outlets of

             America, Inc. (Floor and Decor) (collectively “Defendants”) as follows:

                                                              I.
                                                      OVERVIEW

                    1.      In February 2021, a fire erupted from the Plaintiff’s fireplace killing four people.


                                                              II.
                                           DISCOVERY CONTROL PLAN

                    2.      Under Rule 190 of the Texas Rules of Civil Procedure, Plaintiff requests that all

             discovery for this matter be conducted pursuant to a Level II Discovery Control Plan.




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                                                            III.
                                                        PARTIES

                    3.      Plaintiff, Jackie Nguyen, is the surviving mother of O.N., E.N., and C.N. She is

             an individual residing in Fort Bend County, Texas and brings this suit individually against

             Defendant.

                    4.      Defendant Inspections Now, Inc., is a corporation located in and doing business

             in the state of Texas. Inspections has been served and made an appearance.

                    5.      Defendant Floor and Decor Outlets of America, Inc. is a foreign corporation that

             conducts substantial business in Texas. Floor and Decor Outlets of America, Inc. may be

             served via its registered agent, C T Corporation System, 1999 Bryan St., Suite 900, Dallas,

             Texas 75201.


                                                            IV.
                                            JURISDICTION AND VENUE

                    6.      The claims asserted arise under the common laws of Texas. This Court has

             jurisdiction and venue is proper because all or substantially all of the events giving rise to the

             claims asserted in this lawsuit occurred in Fort Bend County, Texas. TEX. CIV. PRAC. & REM.

             CODE § 15.002.


                                                            V.
                                            BACKGROUND AND FACTS

                    7.      This lawsuit is necessary because of tragic fire that killed four people in Fort

             Bend County, Texas.



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                    8.      Before the house was purchased, Defendant Inspections Now was hired to

             perform a complete inspection of the Property. The inspection report (“Report”) indicated the

             functionality and safety of the fireplace and chimney on the Property, and expressly

             represented that the “unit appears operable.” Plaintiff relied upon this report.

                    9.      Plaintiff also remodeled much of the home, including the living room and the

             fireplace, therein. Plaintiff purchased wood paneling from Defendant Floor and Decor to be

             installed surrounding the fireplace. Floor and Decor knew Plaintiff was using the paneling for

             the fireplace and failed to warn Plaintiff of the danger of using the wood paneling to finish the

             exterior wall of the fireplace.

                    10.     On February 15, 2021, it is believed that the fireplace at the Plaintiff’s home

             was lit and that the wood paneling from Floor and Decor subsequently caught fire and spread

             to the rest of the Property, killing four people.


                                                             VI.
                                                 CAUSES OF ACTION

             A.     Negligence against Inspections Now.
                    11.     Plaintiff hereby incorporates by reference all preceding paragraphs as if fully

             set forth herein.

                    12.     Inspections Now owed a legal duty to Ms. Nguyen to act as a reasonable person

             would in performing a proper chimney and fireplace inspection. The Chimney Safety Institute

             of America sets forth industry standards for chimney inspections and requires inspectors to

             perform a Level II chimney inspection upon the sale or transfer of a property.

                    13.     Inspections Now breached its duty to Ms. Nguyen and its negligence caused her

             injuries when it failed to properly inspect the Property.

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             B.     Negligence and Products Liability against Floor and Decor.

                    14.     Plaintiff hereby incorporates by reference all preceding paragraphs as if fully

             set forth herein.

                    15.     Floor and Decor owed a legal duty Ms. Nguyen to act as a reasonable person

             would in recommending wall paneling for the exterior wall of a chimney and to warn Ms.

             Nguyen of the danger of using any particular paneling.

                    16.     Further, Floor and Decor sold Ms. Nguyen defective wall paneling. The

             paneling was not fit for its intended use, and Floor and Decor failed to warn Ms. Nguyen of

             the dangers of using the wood paneling for the exterior wall of the chimney or to recommend

             safer alternatives. Floor and Decor knew, or should have known, Ms. Nguyen intended to use

             the paneling for the exterior wall of her chimney, yet they still did not warn Ms. Nguyen of the

             danger or recommend safer alternatives.

                    17.     Floor and Decor breached its duty to Ms. Nguyen and its negligence caused her

             injuries when it failed to properly recommend safe paneling for the exterior wall of Ms.

             Nguyen’s chimney.

             C.     Wrongful Death against all Defendants.

                    18.     Plaintiff hereby incorporates by reference all preceding paragraphs as if fully

             set forth herein.

                    19.     The acts and failures to act by Defendants proximately caused the fire which

             ultimately destroyed the Property and caused the Decedents’ untimely deaths.

                    20.     Under § 71.022 of the Texas Civil Practice and Remedies Code, Ms. Nguyen is

             entitled to recover for the death of Decedents and damages suffered, including, but not limited

             to, the loss of companionship, pain, and suffering, and mental anguish in the past and future.

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                                                              VII.
                                              DEMAND FOR JURY TRIAL

                    21.     Plaintiff demands a jury trial.

                                                              VIII.
                          TEXAS RULES OF CIVIL PROCEDURE RULE 47 STATEMENT

                    22.     Under Rule 47 of the Texas Rules of Civil Procedure, Mr. Nguyen states that he

             seeks monetary relief in excess of $1,000,000.00.


                                                              IX.
                                             ALL CONDITIONS PRECEDENT

                    23.     All conditions precedent to the causes of actions brought by Mr. Nguyen have

             occurred.

                                                               X.

                                              CONCLUSION AND PRAYER

                    Plaintiff prays that this citation issue and be served on Defendant in a form and manner

             prescribed by law, requiring that Defendants appear and answer, and that upon final hearing,

             Plaintiff has judgment against Defendant, both jointly and severely, in a total sum in excess of

             the minimum jurisdictional limits of this Court, plus prejudgment and post judgment interests,

             all costs of Court, exemplary damages, and all such other and further relief, to which she may

             show herself justly entitled.

             Date: October 19, 2021




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                                                       Respectfully submitted,
                                                       ARNOLD & ITKIN LLP

                                                       /s/ Jason A. Itkin
                                                       Jason A. Itkin
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                                                       Cory D. Itkin
                                                       State Bar No. 24050808
                                                       6009 Memorial Drive
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                                                       -AND-

                                                       S. SCOTT WEST
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                                                       6908 Brisbane Court, Third Floor
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                                                       Phone: (281) 277-1500
                                                       Facsimile: (281) 277-1505
                                                       scott@westfirm.com

                                                       ATTORNEYS FOR PLAINTIFFS

                                          CERTIFICATE OF SERVICE

                     I hereby certify that a true and correct copy of the above and foregoing document has
             been forwarded to all counsel of record in accordance with the Texas Rules of Civil Procedure
             on this 15th day of November 2021.


                                                       /s/ Jason A. Itkin
                                                       Jason A. Itkin




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        certificate of service that complies with all applicable rules.

        Leticia Saavedra on behalf of Jason Itkin
        Bar No. 24032461
        lsaavedra@arnolditkin.com
        Envelope ID: 59151181
        Status as of 11/17/2021 3:00 PM CST

        Associated Case Party: Jackie Nguyen

         Name             BarNumber   Email                        TimestampSubmitted    Status

         Geoff Binney                 geoff.binney@gkbklaw.com 11/15/2021 10:37:45 AM    SENT



        Associated Case Party: Inspections Now, Inc.

         Name                  BarNumber Email                            TimestampSubmitted       Status

         David Robert Brewer   24027053       dbrewer@brewer-law.com      11/15/2021 10:37:45 AM   SENT

         David Fuchsman                       dfuchsman@brewer-law.com    11/15/2021 10:37:45 AM   SENT



        Case Contacts

         Name               BarNumber Email                            TimestampSubmitted    Status

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